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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:
International Cell Surgical Society, et al.
                                                                                   5:23-cv-00698-DOC-KKx
                                                  PLAINTIFF(S)
                                v.
Kate Krawczyk, et al.
                                                                   ORDER IN RESPONSE TO NOTICE TO FILER OF
                                                                      DEFICIENCES IN FILED DOCUMENT
                                               DEFENDANT(S) .




In accordance with the Notice to Filer of Deficiencies in Filed Document


REGARDING:


                 05/25/2023                     14                         APPLICATION of Non-Resident Attorney
          Date Filed                        Document No.              Title of Document



IT IS HEREBY ORDERED:
    ✔       The document is stricken
            The hearing date has been rescheduled to                                         at               .
            A notice of interested parties shall be filed no later than 5 days from entry of this Order.
            Other:




   Dated:           June 8, 2023                                           By:
                                                                                 U.S. District Judge / U.S. Magistrate Judge




G-112B (08/22)                 ORDER IN RESPONSE TO NOTICE TO FILER OF DEFICIENCIES IN FILED DOCUMENT
